
Appeal from an order of the Broome Special Term denying an application to restrain the Commissioners of Election of the County of Chenango and the Town Clerk of the Town of Afton in that county from submitting questions relative to local option to the voters of the town at the ensuing general election. The grounds of the objections are that the petition was not filed as required by the Alcoholic Beverage Control Law and that the affidavits attached to the several sheets of the petition failed to comply with section 135 of the Election Law. ■ The Special Term dismissed the petition. Order affirmed, without costs, upon the ground that the form and time of filing of the petition was in accordance with the statutes. Leave to appeal to the Court of Appeals granted. All concur. [187 Mise. 553.]
